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    Case 1:17-cv-20266-DPG Document 18 Entered on FLSD Docket 04/04/2017 Page 1 of 2
          Case 1:17-cv-20266-DPG Docum ent17 Entered on FLSD Docket02/15/2017 Page 2 of2

                                               UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF FLORIDA
           StevenM .Larimore                                                        400NorthM iamiAvenue,Room 8N09
           CourtAdministrator*Clerk ofCourt                                                 M iami,Florlda33128-7716
                                                                                                        (305)523-5100

                                                    Date:February 15,2017


                                                                                  FILED b             D.C.
           Attn:CivilCorrespondenceClerk
           Clerk ofCircuitand County Courts                                          AFq j 2217
           138Dade Cotmty Cotlrthouse
           73 W estFlaglerStzeet                                                    STEVEN M . LARIMORE
           M iami,FL 33130                                                          C
                                                                                     sLERK
                                                                                       o tJ. s Dls-r. cT.
                                                                                         of-F7LA.- MIAMI
           REJ DistrictCourtCaseNt).21.
                                      '17-cv-20266-DPG
                StateCotlrtCaseNo: -.              /3 -*0 1Q5 d - CW -IX

           DearSirN adam :
           Pursuantto28U.S.C.j1447,acertifiedcopyoftheDistrictColzrt'sOrderofRemandmustbemailed
           to theClerk oftheStateCourt.

           Pleaseacknowledgereceiptofthe Orderin theabovereferencedcaseby signingand returning theenclosed
           copy ofthisletter.


                                                              Clerk'sAcknowledgm entofReceipt
                                                              Theundersigned hereby ackonwledgesreceiptofthe
                                                              DistrictCoug'scertifiedcopyoftheOrderofRemand.
                                                             By: SHARON W lto :
                                                                Deputy Clerk

                                                             on, L!- -/7
           Steven M .Larim ore,Clerk ofCourt
           By A /CrvstalBarnes-Butler
           Deputy Clerk
Case 1:17-cv-20266-DPG Document 18 Entered on FLSD Docket 04/04/2017 Page 2 of 2
   case'
       1:17-cG2o266-DpG Document17 EnteredonFLSD Docket02/15/2017 Page1of2
                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA
    Steven M .Larimore                                                       400NorthMiamiAvertue,Room 8N09
    CourtAdministrator*ClerkofCourt                                                  M iami,Florlda33128-7716
                                                                                               (305)523-5100


                                            Date:February 15,2017



    Attn:CivilCorrespondence Clerk
    Clerk ofCircuitand CountyCourts
    138DadeCounty Courthouse
    73 W qstFlaglerStreet
    M iaml,FL 33130

    RE: DistrictCourtCaseNo.:l'
                              .l7-cv-20266-DPG

         StateCourtCaseNo.:+7          66- z:- D 1Q/d -CW-/t7


    DearSir/M adam :
    Pursuantto28U.S.C.j1447,acertifiedcopyoftheDistrictCourt'sOrderofRemandmustbemailedto
    tothe Clerk oftheStateCourt.

    PleaseacknowledgereceiptoftheOrderin theabovereferencedcaseby signing and returning theenclosed
    copy ofthisletter.




    Steven M .Larimore,Clerk ofCourt
    By /s/CçvstalBarnes-Butler
    DeputyClerk
